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                          CERTIFICATE OF SERVICE

         I certify that, on November 10, 2023, a true and correct copy of the

   foregoing was filed with the Clerk of the United States District Court for the

   District of New Jersey via the Court’s CM/ECF system, which will send notice

   of such filing to all registered CM/ECF users.



   Dated: November 10, 2023

                                         /s/ Paul J. Fishman
                                             Paul J. Fishman

                                         Attorney for Proposed Amici Curiae
                                         Giffords Law Center to Prevent Gun
                                         Violence, Brady Center to Prevent Gun
                                         Violence, and March for Our Lives
